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 6

 7
                     IN THE UNITED STATES DISTRICT COURT
 8
                   FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,            ) Case No.: 1:12-CR-00284-AWI
                                          )
11               Plaintiff,               )
                                          )
12         vs.                            ) STIPULATION AND ORDER TO
                                          ) ADVANCE SENTENCING
13                                        )
                                          )
14                                        ) Date: April 8, 2013
     APOLINAR VERDUZCO-MEDINA,            ) Time: 10:00 a.m.
15                                        ) Hon. Anthony W. Ishii
                 Defendant.               )
16

17         IT IS HEREBY STIPULATED by and between the parties hereto
18   through their respective counsel that the sentencing hearing
19   in the above captioned matter now set for Monday, April 8,
20   2013, be advanced to Monday, April 1, 2013, at 10:00 a.m.
21   This request is made by both counsel with the intention of
22   conserving time and resources for both parties and the court.
23   ///
24   ///
25   ///
26   ///
27   ///
28   ///
                                           - 1 -
                  Stipulation and [Proposed] Order to Advance Sentencing
                               CASE NO.: 1:12-CR-00284-AWI
                           Case 1:12-cr-00284-AWI-BAM Document 27 Filed 03/29/13 Page 2 of 2


 1   IT IS SO STIPULATED.
 2
     Dated: March 28, 2013
 3
                                                                 /s/ Elana S. Landau
 4
                                                                 Assistant United States
 5
                                                                 Attorney

 6
     Dated: March 28, 2013
 7
                                                                 /s/ Anthony P. Capozzi
 8
                                                                 Anthony P. Capozzi
 9
                                                                 Attorney for
                                                                 APOLINAR VERDUZCO-MEDINA
10

11                                                          ORDER
12

13                           IT IS SO ORDERED.       Based upon the stipulation of the
14   parties and good cause appearing therefor, it is hereby
15   ORDERED that the date of the sentencing hearing of the
16   defendant in the above-entitled case be advanced from Monday,
17   April 8, 2013, at 10:00 a.m. to Monday, April 1, 2013, at
18   10:00 a.m.
19

20

21   IT IS SO ORDERED.
22
     Dated: March 28, 2013
23   DEAC_Signature-END:
                                                          SENIOR DISTRICT JUDGE

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     0m8i788
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                                                              - 2 -
                                     Stipulation and [Proposed] Order to Advance Sentencing
                                                  CASE NO.: 1:12-CR-00284-AWI
